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                      IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF THE VIRGIN ISLANDS
                              ST. CROIX, VIRGIN ISLANDS

                                                                     Case No. 1:22-bk-10001-MFW
             IN RE COSMOGONY II, INC.,                               Involuntary Chapter 7
                Involuntary Debtor.


  PRELIMINARY OBJECTION OF PETITIONING CREDITOR GLENCORE LTD. TO
  AGREED MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO CONTINUE
     LITIGATION AGAINST THE DEBTOR SOLELY TO PURSUE AVAILABLE
                        INSURANCE PROCEEDS

         Petitioning creditor Glencore Ltd. (“Glencore”) respectfully submits this preliminary

 objection (the “Preliminary Objection”) to the Agreed Motion for Relief From the Automatic Stay

 to Continue Litigation Against the Debtor Solely to Pursue Available Insurance Proceeds (the

 “Motion”) [Docket No. 119] filed by certain clients of Burns Charest LLP (collectively, the “BC

 Litigants”) as parties in interest and tort claimants, and Kevin D’Amour, the chapter 7 trustee (the

 “Trustee,” and together with the BC Litigants, the “Movants”). In support of this Preliminary

 Objection, Glencore states as follow:

                                  PRELIMINARY OBJECTION

         1.      The Movants seek relief from the automatic stay to pursue litigation against

 Cosmogony II, Inc. (the “Debtor”) while limiting any recovery to general third-party insurance

 policy proceeds covering the BC Litigants. To be clear, Glencore does not agree, and to the

 contrary, strongly objects, to the relief requested in the Motion. It will not benefit the estate, but

 will solely benefit the BC Litigants.

         2.      The relief requested is directly antagonistic to the significant efforts currently

 underway in which such identical insurance assets—identified by Glencore on behalf of the




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 estate—would be acquired for the benefit of the estate and all creditors, to be allocated under the

 supervision of the Bankruptcy Court.

         3.     Glencore reserves all of its rights at law and equity and will file a more detailed

 objection on or before August 2, 2023 in accordance with Rule 9013-1 of the Local Bankruptcy

 Rules of the District Court for the Virgin Islands, Bankruptcy Division.

                                         CONCLUSION

         WHEREFORE, Glencore requests that the Court deny the Motion or, at a minimum, defer

 consideration of the Motion until Glencore has filed its detailed objection in accordance with Rule

 9013-1 of the Local Bankruptcy Rules of the District Court for the Virgin Islands, Bankruptcy

 Division.

 Dated: July 20, 2023

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